           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


EMILY SHILLING, et al.,

       Plaintiffs-A ppellees

V.
                                                  No. 25-2039
DONALD J. TRUMP, in his official capacity as
 President of the United States, et al.,

       Defendants-Appellants


      EMERGENCY MOTION UNDER CIRCUIT RULE 27-3 FOR
     IMMEDIATE ADMINISTRATIVE STAY BY MARCH 28 AND
                 STAY PENDING APPEAL


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                                                     1
                 INTRODUCTION AND SUMMARY

     For decades, the military generally barred individuals with gender

dysphoria from serving. As recently as 2019, the Supreme Court and this

Court allowed the military to do so. After then-Secretary of Defense

Mattis issued a 2018 policy presumptively disqualifying individuals with

gender dysphoria from service, the Supreme Court and this Court per­

mitted the policy to take effect. Trump v. Karnoski, 586 U.S. 1124 (2019)

(staying preliminary injunction pending appeal); Karnoski v. Trump, 926

F.3d 1180, 1201-03 (9th Cir. 2019) (per curiam) (staying preliminary in­

junction and "reject[ing] Plaintiffs' contention that no [military] defer­

ence is owed here"). The same result is warranted here: this Court

should stay the worldwide p1·eliminary injunction.

     Gender dysphoria is a medical condition associated with clinically

significant distress or impairment in social, occupational, or other im­

portant areas of functioning caused by incongruence between a person's

sex and the gender with which he or she identifies. Gender dysphoria,

like other psychiatric conditions, limits deployability and imposes addi­

tional costs on the military. At a minimum, there is a rational basis for

the military to treat individuals with gender dysphoria differently.
     The district court, however, substituted its judgment for that of the

military, reasoning that the Constitution and equitable principles likely

preclude the military from treating gender dysphoria as disqualifying.

The court issued a worldwide preliminary injunction barring the Depart­

ment of Defense from implementing its policy.

     The government respectfully requests a stay pending appeal and an

immediate administrative stay by March 28. Otherwise, the military will

be forced to continue implementing a policy that the Department has de­

termined is not compatible with military readiness and lethality. 1

                            BACKGROUND
     1.    Individuals seeking to join or continue serving in the military

must meet medical requirements designed to ensure that servicemem­

bers are "capable of performing duties," free of conditions that "may rea­

sonably be expected to require excessive time lost from duty for necessary

treatment or hospitalization," and "adaptable to the military environ­

ment without geographical area limitations." U.S. Dep't of Def. Instr.




     1 The government sought this relief in district court. Dkt. No. 76,
at 43. The court orally denied it. Add.68-69. Plaintiffs oppose this mo­
tion.

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6130.03, Medical Standards for Military Service: Appointment, Enlist­

ment, or Induction, vol. 1, at 4-5 (May 28, 2024); see U.S. Dep't of Def.,

Instr. 6130.03, Medical Standards for Military Service: Retention, vol. 2,

at 8, 12-37 (June 6, 2022). These requirements render 71% of Americans

between ages 17 and 24 ineligible to join the military for mental, medical,

or behavioral health reasons.

     For decades, these standards presumptively barred individuals

with gender dysphoria. Instruction 6130.03, vol. 1, at 27, 48 (Apr. 28,

2010); Karnoski, 926 F.3d at 1187. In 2016, the Department revised its

policy, as directed by then-Secretary Carter. See Karnoski, 926 F.3d at

1188. Under this revision, "individuals not suffering from gender dys­

phoria or undergoing gender transition were eligible for service-only in

their biological sex." Doe 2 v. Shanahan, 917 F.3d 694, 710 (D.C. Cir.

2019) (Williams, J., concurring in the result). Individuals diagnosed with

gender dysphoria while serving could continue to serve if they met de­

ployability standards but had to serve in their sex "until their transition

was 'complete."' Id. at 710-11. For accessions into the military, a history




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of "gender dysphorja" and "gender transition" would be disqualifying un­

less the individual had "been stable without clinically significant distress

or impairment" for 18 months. Id. (quotation marks omitted).

     In 2017, the Department began an extensive review of military ser­

vice by trans-identifying individuals, as directed by then-Secretary

Mattis. Karnoski, 926 F.3d at 1190. That months-long process, involving

a "panel of experts" that conducted a "comprehensive" study, culminated

in a new policy in 2018. Id. at 1190-92. As with the Carter policy, the

Mattis policy required all individuals "without a history or diagnosis of

gender dysphoria" to serve "in their biological sex," with limited excep­

tions. Id. at 1191. The Mattis policy "presumptively disqualified for ac­

cession purposes individuals with a 'history' of 'gender dysphoria' unless

they were stable" for 36 months. Doe 2, 917 F.3d at 711 (Williams, J.,

concurring in the result). "[I]ndividuals 'diagnosed with gender dyspho­

ria after entering into service [could] be retained if they [did] not require

a change of gender and remain deployable within applicable retention

standards."' Id.

     Although there were challenges to the Mattis policy, the Supreme

Court, this Court, and the D.C. Circuit all ultimately permitted it to take



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effect. Karnoski, 586 U.S. at 1124 (stayjng preliminary injunction); Kar­

noski, 926 F.3d at 1201-03; Doe 2 u. Shanahan, 755 F. App'x 19, 25 (D.C.

Cir. 2019)    (per curiam)     (vacating preliminary     injunction   and

"acknowledg[ing] that the military has substantial arguments for why

the Mattis Plan complies with ... equal protection").

     In 2021, then-President Eiden issued Executive Order 14004 per­

mitting trans-identifying individuals to serve openly and directing then­

Secretary Austin to develop a process by which servicemembers "may

transition gender[s]" and "prohibit involuntary separations ... on the ba-

sis of gender identity." 86 Fed. Reg. 7471, 7471-7472 (Jan. 28, 2021).

Under the Austin policy, a history of "gender dysphoria" was disqualify­

ing unless the individual had been stable for 18 months, and a history of

hormones or sex-reassignment surgery was disqualifying unless certain

conditions were met. Instruction 6130.03, at 28, 30, 46, 52. The Austin

policy recognized that "[g]ender transition while serving in the military

presents unique challenges associated with addressing the needs of the

Service member in a manner consistent with military mission and read­

iness," but nonetheless permitted "in-service transitions." U.S. Dep't of




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Def., Instr. 1300.28, In-Service Transition for Transgender Service Mem­

bers, 3, 7-8 (Apr. 30, 2021).

     2.     In January 2025, President Trump revoked Executive Order

14004, 90 Fed. Reg. 8237, 8238 (Jan. 28, 2025), and issued Executive Or­

der 14183 stating that "[i]t is the policy of the United States Government

to establish high standards for troop readiness, lethality, cohesion," and

"uniformity," among other traits, and that this "policy is inconsistent

with the medical, surgical, and mental health constraints on individuals

with gender dysphoria." 90 Fed. Reg. 8757 (Feb. 3, 2025). The Order

directed the Department to update its medical standards. Id. at 8757-58.

      3.   On February 26, the Department announced its new policy.

Add. 71-83. Recognizing the need for servicemembers who can "meet the

high standards for military service and readiness without special accom­

modations," the policy explains that "[m]ilitary service" by those "who

have a current diagnosis or history of, or exhibit symptoms consistent

with, gender dysphoria ... is not in the best interests of the Military Ser­

vices." Add. 73.   The Department subsequently explained that "[t]he

phrase 'exhibits symptoms consistent with gender dysphoria' refers to the

diagnostic criteria outlined in the Diagnostic and Statistical Manual of



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Mental Disorders." Add.168 n.2. "This language applies only to indjvid­

uals who exhibit symptoms as would be sufficient to constitute a diagno­

sis" of gender dysphoria-namely, a "marked incongruence [between

one's sex and the gender with which one identifies] and clinically signifi­

cant distress or impairment for at least 6 months." Id.

     Under the 2025 policy, applicants and servicemembers "who have a

current diagnosis or history of, or exhibit symptoms consistent with, gen­

der dysphoria" or "who have a history of cross-sex hormone therapy or a

history of sex reassignment or genital reconstruction surgery'' are dis­

qualified. Add. 76-78. But these individuals "may be considered" for a

waiver "where there is a compelling Government interest," and they

(1) "demonstrate□ 36 consecutive months of stability," (2) "demonstrate[]

that [they have] never attempted to transition" to a different sex, and

(3) are "willing and able to adhere to all applicable standards, including

the standards associated with [their] sex." Add. 78, 166-167.

     Servicemembers no longer eligible for service "will be processed for

administrative separation" and will "be provided full involuntary separa-




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tion pay." Add. 78-79. Characterization of their service "will be honora­

ble" unless their "record otherwise warrants a lower characterization."

Add.73.

     The 2025 policy was "informed through consideration of' "prior [De­

partment] studies and reviews of service by individuals with gender dys­

phoria, including a review of medical literature regarding the medical

risks associated with presence and treatment of gender dysphoria,"

among other things. Add.86. The Department considered the report un­

derlying the Mattis policy, "[a] 2021 review conducted by [the Depart­

ment's] Psychological Health Center of Excellence and the Accession

Medical Standards Analysis and Research Activity," a "2025 medical lit­

erature review conducted by the Office of the Assistant Secretary of De­

fense for Health Affairs," and a review of cost data. Add.86-87.

     4.    Plaintiffs are trans-identifying current and aspiring service-

members. See Dkt. No. 59, at 4-5. They allege that the Executive Order

and the 2025 policy violate equal protection, the First Amendment, and

procedural due process, and that the Department is estopped from en­

forcing the Executive Order or 2025 policy against them. Id., at 32-39.




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     5.    The district court entered a worldwide preliminary injunction

on March 27 barring the government from implementing the Executive

Order and the 2025 policy. Add.1-2.

     The court concluded that plaintiffs were likely to succeed on their

equal-protection claim. Add.28-48. The court characterized the 2025 pol­

icy as a "blanket prohibition" without meaningful exemption. Add.4. The

court concluded that intermediate scrutiny applied because the policy

classifies based on "transgender status," which the court equated with

sex discrimination, and because "transgender is at least a quasi-suspect

class." Add.31-37. The court discounted the evidence on which the De­

partment relied. Add.39-45. The court characterized the Mattis report's

findings as "outdated" and faulted the Department for failing to consider

"the military's experience under the Austin Policy." Add.4. The court

also questioned the Department's reliance on the 2021 review and 2025

medical literature review, noting that evidence was mixed. Add.40-46.

     Next, the court determined that plaintiffs are likely to succeed on

their First Amendment claim, concluding that the policy's requirement

that all servicemembers adhere to sex-based standards is a viewpoint­

based restriction on speech and expression. Add.48-51.



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     The court further concluded that plaintiffs were likely to succeed on

their procedural due process and estoppel claims, which the court

acknowledged rested on similar theories. Add.51-60. The court reasoned

that the previous administration had induced trans-identifying service­

membe1·s to serve openly, and that the Department's change in policy un­

fairly "reneg[ed]" on that promise. Add.56, 60.

     6.    Two other challenges to the Executive Order and 2025 policy

are pending in other courts. In Talbott v. Trump, No. 25-cv-00240, the

district cou1·t issued a universal preliminary injunction, 2025 WL 842332,

at *3 (D.D.C. Mar. 18, 2025), and denied the government's motion to dis­

solve it, 2025 WL 914716, at *l (D.D.C. Mar. 26, 2025). The government

appealed and sought an immediate administrative stay and a stay pend­

ing appeal. On March 27, the D.C. Circuit granted an administrative

stay pending further order of the court. Talbott v. Trump, No. 25-5087

(D.C. Cir. 2025).

     In Ireland v. Hegseth, No. 25-cv-01918, Dkt. No. 28, at 8 (D.N.J.

March 24, 2025), the court issued a 14-day temporary restraining order

barring the government from implementing the Executive Order and

2025 policy as to the named plaintiffs only.



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                              ARGUMENT

      In considering a stay pending appeal, this Court examines

"(1) whether the stay applicant has made a strong showing that he is

likely to succeed on the merits; (2) whether the applicant will be irrepa­

rably injured absent a stay; (3) whether issuance of the stay will substan­

tially injure the other parties interested in the proceeding; and ( 4) where

the public interest lies." Nken v. Holder, 556 U.S. 418, 426 (2009) (quo-

tation marks omitted).

I.    The Government Is Likely To Prevail On The Merits

     A.    The 2025 Policy Complies with Equal Protection

           1.    The 2025 Policy Merits The Most Deferential
                 Review

     Although the military is subject to constitutional constraints, "the

tests and limitations to be applied may differ because of the military con­

text." Rostker v. Goldberg, 453 U.S. 57, 67 (1981). For instance, judicial

"review of military regulations challenged on First Amendment grounds

is far more deferential than constitutional review of similar laws or reg­

ulations designed for civilian society." Goldman v. Weinberger, 4 75 U.S.

503, 507 (1986). The same is true for decisions as to "the composition and

internal administration of combat-ready military forces." Doe 2, 755 F.


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App'x at 24; see also, e.g., Steffan v. Perry, 41 F.3d 677, 685 (D.C. Cir.

1994) (en bane) ("It is hard to imagine a more deferential standard than

rational basis, but when judging the rationality of a regulation in the

military context, we owe even more special deference."). The Supreme

Court reaffirmed this standard in Trump v. Hawaii, 585 U.S. 667, 704

(2018), when it applied "rational basis review" and stressed that judicial

"inquiry into matters of ... national security is highly constrained," even

when evaluating a "'categorical' ... classification that discriminate[s] on

the basis of sex," id. at 703-04 (discussing Fiallo v. Bell, 430 U.S. 787

(1977)).

     Although Karnoski concluded that the Mattis policy should be re­

viewed under "something more than rational basis but less than strict

scrutiny," that conclusion rested on the fact that "the [Mattis policy] on

its face treat[ed] transgender persons differently than other persons."

926 F.3d at 1201. In contrast, the 2025 policy is "neutral on its face,"

Hawaii, 585 U.S. at 702, and draws lines based on a medical condition

(gender dysphoria) and related medical interventions. Such classifica­

tions receive only rational-basis review. See, e.g., Board of Trs. of Univ.

of Ala. v. Garrett, 531 U.S. 356, 365-68 (2001).



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           2.    The 2025 Policy Withstands Constitutional
                 Review

     The 2025 policy easily satisfies this deferential standard. Even if

this Court were to conclude that intermediate scrutiny applies, military

deference would "inform[ its] application," and the 2025 policy would sur­

vive this level of scrutiny. Karnoski, 926 F.3d at 1201. As Secretary

Mattis explained, generally allowing individuals with a history of gender

dysphoria or related medical interventions to serve poses "substantial

risks" and could "undermine readiness, disrupt unit cohesion, and impose

an unreasonable burden on ... military effectiveness and lethality."

Add.90. The military's interest in avoiding those harms is compelling:

Courts must "give great deference to the professional judgment of mili­

tary authorities concerning the relative importance of a particular mili­

tary interest," Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 24

(2008) (quotation marks omitted), and the Department has concluded

that minimizing these risks is "absolutely essential," Add.90. At a mini­

mum, this Court should defer to the military's judgment that this pre-

sumptive disqualification is not just rationally related to, but actually

"necessary" to, furthering that critical interest. Add.91.




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     a. Mjlitary Readiness. As the Department explajned, service by

individuals with a history of gender dysphoria or related medical inter­

ventions poses at least two significant risks to military readiness. First,

the Department was concerned about subjecting those with gender dys­

phoria to the unique stresses of military life. Add.113, 134. Gender dys­

phoria is characterized by clinically significant distress or impairment in

functioning, and the military must consider the "risk of exacerbation if [a

servicemember with gender dysphoria] were exposed to trauma or severe

operational stress." Add.126. That judgment is also 1·eflected in the

Carter and Austin policies, which disqualified individuals with a history

of gender dysphoria absent proof that they had "been stable without clin­

ically significant distress or impairment" for 18 months. See Doe 2, 917

F.3d at 710 (Williams, J., concurring in the result) (quotation marks omit­

ted); Instruction 6130.03, at 52.

     Additionally, the Department had reasonable concerns about the

"considerable scientific uncertainty concerning whether [cross-sex hor­

mones and sex-reassignment su1·gery] fully remedy, even if they may re­

duce, the mental health problems associated with gender dysphoria."

Add.124; see Add.113-119. A 2025 medical literature review conducted



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by the Office of the Assistant Secretary of Defense for Health Affairs in­

dicated that "[t]he strength of the evidence" on gender dysphoria and re­

lated medical interventions "is low to moderate." Add.156. Although

Secretaries Carter and Austin were more willing to tolerate these risks,

there is no constitutional requirement that the current Secretary of De­

fense hew to the risk tolerance of his predecessors.        See Instruction

1300.28, at 3, 7-8 (Austin policy recognizing challenges associated with

"in-service transition"); Add.119 (the RAND report underlying the Carter

policy cautioned that "it is difficult to fully assess the outcomes of treat­

ment" for gender dysphoria).

     Second, sex-reassignment-related interventions could render tran­

sitioning servicemembers "non-deployable for a potentially significant

amount of time." Add.127. As the Department noted, a 2021 medical

literature review "found that nearly 40% of Service members with gender

dysphoria in an observed cohort were non-deployable over a 24 month

period." Add.86. In addition to being inherently problematic, these limits

on deployability would have harmful effects on units as a whole: any in­

crease in the number of non-deployable servicemembers requires those




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who can deploy to bear "undue risk and personal burden," which "nega­

tively impacts mission readiness." Add.127 (quotation marks omitted);

see also Add.86.

     b. Unit Cohesion, Good Order, and Discipline. Additionally, the

Department determined that exempting individuals from sex-based

standards would undermine the critical objectives served by those rules,

namely, "good order, discipline, steady leadership, unit cohesion, and ul­

timately military effectiveness and lethality."     Add.120.    "Given the

unique nature of military service, Service members ... [must] often ... live

in extremely close proximity to one another when sleeping, undressing,

showering, and using the bathroom." Add.129. To protect privacy, the

military has therefore "long maintained separate berthing, bathroom,

and shower facilities for men and women." Id.; see United States v. Vir­

ginia, 518 U.S. 515, 550 n.19 (1996) (it is "necessary to afford members

of each sex privacy from the other sex in living arrangements"). Permit­

ting individuals to serve inconsistently with applicable sex-based stand­

ards imposes irreconcilable privacy demands on the military. Add.129;

cf Roe v. Critchfield, --- F.4th ---, No. 23-2807, 2025 WL 865721, at *6-8

(9th Cir. March 20, 2025) (plaintiffs were unlikely to succeed on equal



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protection challenge to statute requiring publjc-school students to use

only the restroom corresponding to their sex).

     The Department was also concerned that exempting servicemem­

bers from sex-based standards in training and athletic competitions

would be unfair. Add.128. In Rostker, the Supreme Court deferred to

Congress's judgment that including women in the draft would create "ad­

ministrative problems such as housing and different treatment with re­

gard to ... physical standards." 453 U.S. at 81 (quotation marks omitted).

As the Supreme Court has recognized, "[i]t is not for this Court to dismiss

such problems as insignificant in the context of military preparedness

and the exigencies of a future mobilization." Id.

     Similarly, the Department was concerned that exempting service­

members from uniform and grooming standards would create friction in

the ranks, as other servicemembers may wish to be exempted from sex­

based "uniform and grooming standards as a means of expressing their

own sense of identity." Add.123; cf. Goldman v. Secretary of Def., 734

F.2d 1531, 1540 (D.C. Cir. 1984) (deferring to Air Force's judgment "that




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it cannot make exceptions ... for religious reasons wjthout incurring re-

sentment from those who are compelled to adhere to the rules strictly"),

aff'd, 475 U.S. 503.

     c. Disproportionate Costs. The Department noted that medical in­

terventions related to gender dysphoria were "disproportionately costly

on a per capita basis." Add.133; see also Add.87. Even when alleged con­

stitutional rights are involved, decisions by the political branches as to

whether a benefit "consumes the resources of the military to a degree ...

beyond what is warranted" deserve significant deference. Middendorf v.

Henry, 425 U.S. 25, 45 (1976).

           3.    The District Court's Analysis Is Fundamen­
                 tally Flawed

     The district court erred in concluding that plaintiffs are likely to

prevail on their claim that the Constitution precludes the military from

treating gender dysphoria as a disqualifying medical condition.

     1.    The court's order hinged on its mischaracterization of the

2025 policy. See Add.31-34. As the D.C. Circuit concluded, the Mattis

policy was not a "blanket ban" despite excluding individuals with "gender

dysphoria or who are unwilling to serve in their biological sex." Doe 2,

755 F. App'x at 23-24. So too here. The 2025 policy excludes individuals


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based on a medical condition (gender dysphoria) or related medical inter­

ventions and requires individuals to serve in their sex. The 2025 policy

also permits individuals with a history of gender dysphoria to be consid-

ered for waivers, "provided there is a compelling Government interest in

retaining the Service member," they "demonstrate[] 36 consecutive

months of stability," have "never attempted to transition to any sex other

than their sex," and are "willing and able to adhere to" "the standards

associated with the Service member's sex." Add. 78, 166-167.

     The district court mistakenly relied on language used in a brief so-

cial media post by Secretary Hegseth. See Add.16, 31-32. But that post

merely shared a link to a news article and repeated the headline. 2 It did

not "announce[]" anything, much less anything inconsistent with the

terms of the policy itself. Add.16.

     The court reasoned that "[g]ender dysphoria is plainly 'closely cor­

related' with being transgender." Add.32. But even if that is the case, it

does not change the fact that the policy applies neutral rules based on




     2  Pete Hegseth (@PeteHegseth), X (Feb. 27, 2025, 11:52 AM),
https://perma.cc/ESD3-TJ82.

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objective facts: whether a person has gender dysphoria or has undergone

related medical interventions.

     2.    The district court erred in applying intermediate scrutiny,

reasoning that the policy classifies based on sex and targets a quasi-sus­

pect class. As explained above, the military's judgment about the compo­

sition of the military warrants great deference. Goldman, 475 U.S. at

507. In any event, the 2025 policy draws lines based on a medical condi­

tion (gender dysphoria) and related medical interventions, and not iden­

tity or status. Such classifications receive only rational-basis review.

See, e.g., Board of Trs. of Univ. of Ala. v. Garrett, 531 U.S. 356, 365-68

(2001).

     3.    The court further erred in undertaking its own review of the

evidence and concluding that it does not support the policy. Add.39-46.

Judicial "inquiry into matters of ... national security is highly con­

strained," Hawaii, 585 U.S. at 704, and "in the area of military affairs,"

courts must be "particularly careful not to substitute" their "own evalua­

tion of evidence for a reasonable evaluation" by the political branches,

Rostker, 453 U.S. at 67-68.




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     In the military context, the Supreme Court has accepted concerns

about "administrative problems" and post hoc justifications as sufficient

to uphold military policies-even when sex-based classifications are in­

volved. Rostker, 453 U.S. at 81 (quotation marks omitted); see id. at 74-

75 (relying on 1980 legislative record to sustain 1948 statute exempting

women from draft-registration requirement); Schlesinger v. Ballard, 419

U.S. 498, 508 (1975) (upholding sex-based mandatory-discharge require­

ments for naval officers based on what "Congress may ... quite rationally

have believed''). It has deferred to the political branches on military mat­

ters even in the face of significant evidence to the contrary, including tes­

timony from current and former military officials. See Goldman, 4 75 U.S.

at 509; Rostker, 453 U.S. at 63. And it has granted the political branches

wide latitude to choose "among alternatives" in furthering military inter­

ests, Rostker, 453 U.S. at 71-72, as well as where to "draw[] the line,"

Goldman, 475 U.S. at 510.

      For instance, Goldman rejected an argument that the Air Force had

"failed to p1·ove that a specific exception for [the] practice of wearing an

unobtrusive yarmulke would threaten discipline" and "that the Air

Force's assertion to the contrary is mere ipse dixit, with no support from



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actual experience or a scientific study in the record, and is contradicted

by expert testimony." 475 U.S. at 509.       The Court did not question

whether the Air Force's judgment rested on adequate evidence, deeming

it sufficient that the issue had been "decided by the appropriate military

officials" in their "considered professional judgment." Id.

     In any event, the district court's evaluation ignored the ample evi­

dence in the 44-page report underlying the Mattis policy, which the De­

partment relied on in issuing the 2025 policy. Add.92-136. The court

reasoned that the Mattis report does not support the 2025 policy because

the Department did not assemble and analyze data from the past four

years of the Austin policy. Add.40-46. But nothing required the Depart­

ment to do so. In making determinations about composition of the force,

the Department considers the long-term risks and consequences of ser­

vice by individuals with medical conditions. See Instruction 6130.03, at

4-5. That judgment considers not only the current status and severity of

a particular medical condition, or how controlled it has been over the past

four years, but also how it may progress over time or lead to other com­

plications in the future, such as side effects from treatment or potential




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comorbidities. The Mattis report and the conclusions of the panel of ex­

perts who conducted a "comprehensive" study are entitled to deference

and reasonably support the 2025 policy. Karnoski, 926 F.3d at 1190; Doe

2, 755 F. App'x at 25 ("acknowledg[ing] that the military has substantial

arguments [based on the Mattis report] for why the Mattis Plan complies

with ... equal protection principles").

       The court further erred in faulting the Department's reliance on

certain medical literature reviews because some of the data could cut dif­

ferent ways or was not available. Add.40-46. These reviews also contain

findings that support the Department's 2025 policy. See Add.156 ("The

strength of the evidence on transgender mental health and gender-af­

firming care is low to moderate."); Add.86 (data underscoring readiness

risks and deployability limitations associated with gender dysphoria).

That data could cut different ways is no reason to discredit the military's

judgment and its conclusions about the level of risk it is willing to toler­

ate.

       B.   The 2025 Policy Is Not Otherwise Unlawful

       The court further erred in concluding that the 2025 policy likely

violates the First Amendment and procedural due process, and that the



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Department is equitably estopped from applying its policy to the active­

duty plaintiffs. Both free-speech and due-process challenges to military

policies trigger a highly deferential form of review, see, e.g., Brown v.

Glines, 444 U.S. 348, 353-59 (1980); Parker v. Leuy, 417 U.S. 733, 756,

758 (1974), and the Supreme Court has cautioned that "within the mili­

tary community there is simply not the same individual autonomy as

there is in the larger civilian community," Goldman, 475 U.S. at 507 (al­

teration omitted).

     1.     The district court erred in concluding that the policy is a view-

point-based restriction on speech and expression because it requires ad­

herence to sex-based standards. Add.50. As Goldman explained, judicial

review "of military regulations challenged on First Amendment grounds

is far more deferential than constitutional review" in the civil context.

4 75 U.S. at 507. The military has an interest in "uniformity," id. at 510,

and a policy requiring that military uniforms, salutations, and grooming

standards uniformly reflect an individual's sex reasonably furthers that

interest.

      Even if traditional First Amendment standards were to apply in the

military context, the 2025 policy is not "viewpoint-based," as it is not



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"based on 'the specific motivating ideology or the opinion or perspective

of the speaker."' Reed u. Town of Gilbert, 576 U.S. 155, 168 (2015). The

policy requires all servicemembers to serve in their sex.

     2.    The court also erred in concluding that plaintiffs' procedural

due process claim is likely to succeed. The court's characterization of the

Department's change in policy as a "bait and switch" is incorrect. Add.52.

There is no fundamental right to serve in the military, much less in a

particular manner. Add.52; see, e.g., Canfield v. Sullivan, 774 F.2d 1466,

1469 (9th Cir. 1985). And because the military's policy has changed sev­

eral times, plaintiffs could not reasonably have "expect[ed]" the Austin

policy to forever remain unchanged. Add.52.

     Moreover, plaintiffs' claim fails because the 2025 policy affords ser­

vicemembers "being processed for separation ... all statutorily required

rights and benefits," including procedures before "an administrative sep­

aration board." Add. 72, 79. Such procedures are more than sufficient to

satisfy the Due Process Clause's "base requirement" of an "opportunity

to be heard at a meaningful time and in a meaningful manner." Yagman

u. Garcetti, 852 F.3d 859, 863 (9th Cir. 2017). The court dismissed this




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process as "futile." Add.26. But due process is concerned with proce­

dures, not outcomes. That the process may not yield a favorable result

does not constitute a procedural due process violation.

      3.   The district court was equally mistaken in concluding that the

servicemember plaintiffs are likely to succeed on their equitable estoppel

claim, which largely rested on the same "settled expectations" argument

underlying their procedural due process claim and fails for similar rea­

sons. Add.56-60; see supra, pp. 25-26. Contrary to the district court's

assertions, the government did not engage in any "misconduct" by reeval­

uating a generally applicable policy regarding a medical condition.

Add.60. Nor did the Department act inconsistently with policies that

were then in effect. The court's reliance on Watkins v. U.S. Army, 875

F.2d 699 (9th Cir. 1989) (en bane), was therefore misplaced. Indeed, the

Supreme Court has "reversed every finding of estoppel that [it has] re­

viewed."   Office of Personnel Mgmt. v. Richmond, 496 U.S. 414, 422

(1990).

II.   The Injunction Is Overbroad

      The court also erred in ordering universal relief. Universal injunc-

tions are "legally and historically dubious," Hawaii, 585 U.S. at 721



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(Thomas, J., concurrjng), and "patently unworkable," DHS v. New York,

140 S. Ct. 599, 600 (2020) (Gorsuch, J., joined by Thomas, J., concurring

in the grant of stay). They transgress constitutional limits on courts'

powers, which extend only to "render[ing] a judgment or decree upon the

rights of the litigants." United States v. Texas, 599 U.S. 670, 693 (2023)

(Gorsuch, J., joined by Thomas and Barrett, J.J., concurring in the judg­

ment) (alteration and quotation marks omitted). They are also incom­

patible with '"foundational' limits on equitable jurisdiction." Department

of State v. AIDS Vaccine Advocacy Coal., 145 S. Ct. 753, 756 (2025) (Alito,

J., joined by Thomas, Gorsuch, and Kavanaugh, J.J., dissenting from the

denial of the application to vacate order). And they compromise the gov­

ernment's ability to carry out its functions before any court can fully ex­

amine the merits of its actions.

III. The Equitable Factors Favor A Stay
     The court's injunction causes direct, irreparable injury to the inter-

ests of the government and the public, which merge here. See Nken, 556

U.S. at 435. It compels the Department to maintain a policy it has deter­

mined undermines military readiness and lethality. Cf. Maryland v.

King, 567 U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers) ("Any time



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a [government] is enjoined by a court from effectuating statutes enacted

by representatives of its people, it suffers a form of irreparable injury."

(alteration and quotation marks omitted)).

     In contrast, a stay pending appeal would not irreparably harm

plaintiffs. None of the plaintiffs who seek to enlist faces immediate harm

from a stay pending appeal, because they have not yet been accepted into

military service. As for the servicemember plaintiffs, any alleged harms

can be remedied later. See, e.g., Guerra v. Scruggs, 942 F.2d 270, 274-

275 (4th Cir. 1991) (plaintiffs' discharge from the military under alleg­

edly unequal procedures did not constitute irreparable injury and em­

ployment-related decisions based on discriminatory policy could be rem­

edied by an order reinstating employment and damages).

     At a minimum, the Court should stay the injunction as it pertains

to the Department's policy regarding accession and stay the universal

scope of the injunction pending resolution of the government's appeal.

Such a stay would at least allow the military to implement in part the

2025 policy, which it has determined is in the Nation's best interests.




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                           CONCLUSION

     This Court should enter an administrative stay and stay the district

court's preliminary injunction pending appeal.

                                       Respectfully submitted,

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                 CERTIFICATE OF COMPLIANCE

     Pursuant to Federal Rule of Appellate Procedure 32(g), I hereby

certify this motion complies with Federal Rule of Appellate Procedure

27(d)(l)(E) because it has been prepared in 14-point Century Schoolbook,

a proportionally spaced font, and that it complies with the type-volume

limitation of Circuit Rules 27-l(l)(d) and 32-3(2) because it contains 5200

words, according to Microsoft Word.



                                                Isl Amanda L. Mundell
                                               AMANDA L. MUNDELL
                   CERTIFICATE OF SERVICE

     I hereby certify that on March 28, 2025, I electronically filed the

foregoing with the Clerk of the Court by using the ACMS system. Service

will be accomplished by the ACMS system and by email to all counsel of

record.


                                              Isl Amanda L. Mundell
                                             AMANDA L. MUNDELL
